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Umted States D1Strlct Court ‘@O`Zé "`
wEsTERN DISTRICT oF TENNESSEE /1/ /
Eastern Division

JUI)GMENT IN A CIVIL CASE

JOSE BANUELOS and TINA
BANUELOS

VS.

CHANDELEUR HOMES, INC., CAS E N U |V| B ER: 1 204-1 1 34-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been renderedl

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 7/25/2005, Judgment is entered for the defendant and this
case is hereby D|SM|SSED.

APPROVED:

Qr:/MA.M

JAM 7 D. TODD
UNI D STATES DISTRICT JUDGE

THOMAS M. GOULD 7

 

 

CLERK
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DATE 1 ‘ DEPUTY CLERK

This document entered on the docket sheet in compliance

with Rule 58 and/or?Q(a) FRCP on q l 2 H¢O 2 .

 

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Honorable J ames Todd
US DISTRICT COURT

